                Case 22-40420-mxm13 Doc 15 Filed 03/22/22                                                                  Entered 03/22/22 11:57:45                  Page 1 of 33
 Fill in this information to identify your case and this filing:

  Debtor 1                        Veronica                       Lynn                       Dennis
                                 First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)            First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                           Northern District of Texas
                                                                                                                                                                      ❑   Check if this is an
  Case number                            22-40420-MXM-13                                                                                                                  amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                             12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ✔ No. Go to Part 2.
      ❑
      ❑ Yes. Where is the property?
 2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
      you have attached for Part 1. Write that number here.........................................................................................................   ➜                    $0.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                            page 1
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 Debtor 1                  Veronica                      Lynn                             Dennis                                                              Case number (if known) 22-40420-MXM-13
                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ❑ No
      ✔ Yes
      ❑
      3.1 Make:                                   Ford                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the

                                                  Mustang
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                            ❑ Debtor 2 only
            Model:                                                                                                                                          Who Have Claims Secured by Property.

                                                  2015                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                                                                                                                          entire property?             portion you own?
                                                  80000
            Approximate mileage:                                                                                                                                        $15,000.00                  $15,000.00

            Other information:                                              ❑Check if this is community property (see
                                                                                instructions)




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................                  ➜            $15,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                   Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

 6. Household goods and furnishings
      Examples:       Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               See Attached.
                                                                                                                                                                                                     $1,725.00

 7. Electronics
      Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                      electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               See Attached.                                                                                                                                           $550.00


 8. Collectibles of value
      Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........



Official Form 106A/B                                                                                    Schedule A/B: Property                                                                      page 2
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 Debtor 1                      Veronica                           Lynn                                   Dennis                                                                     Case number (if known) 22-40420-MXM-13
                               First Name                         Middle Name                            Last Name



 9. Equipment for sports and hobbies
       Examples:          Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                          carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:           Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:           Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      Clothing Shoes                                                                                                                                                     $450.00



 12.    Jewelry
        Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:           Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      Dogs 3                                                                                                                                                                 $0.00



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜                                   $2,725.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                             Current value of the
                                                                                                                                                                                                          portion you own?
                                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                                          claims or exemptions.


 16.    Cash
        Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ✔ No
        ❑
        ❑ Yes........................................................................................................................................................   Cash..............




Official Form 106A/B                                                                                                     Schedule A/B: Property                                                                       page 3
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                          First Name            Middle Name              Last Name



 17.   Deposits of money
       Examples:        Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                        similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                               Institution name:



       17.1. Checking account:                  Point Bank Acct #9276                                                               ($267.32)

 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................




Official Form 106A/B                                                               Schedule A/B: Property                                                   page 4
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 Debtor 1              Veronica                 Lynn                    Dennis                                               Case number (if known) 22-40420-MXM-13
                       First Name               Middle Name              Last Name



 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

Money or property owed to you?                                                                                                                        Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about
                 them, including whether you
                 already filed the returns and the
                 tax years.......................

 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........


 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




Official Form 106A/B                                                               Schedule A/B: Property                                                        page 5
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 Debtor 1                  Veronica                       Lynn                               Dennis                                                               Case number (if known) 22-40420-MXM-13
                           First Name                      Middle Name                       Last Name



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........


 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                         ($267.32)



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ❑No. Go to Part 6.
       ✔Yes. Go to line 38.
       ❑
                                                                                                                                                                                         Current value of the
                                                                                                                                                                                         portion you own?
                                                                                                                                                                                         Do not deduct secured
                                                                                                                                                                                         claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........
 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Desk Computer Printer Printer
                                                                                                                                                                                                       $375.00


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........
 41.   Inventory

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Antiques, misc household and garage goods, furnishings, clothing
                                                                                                                                                                                                    $85,000.00


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........



Official Form 106A/B                                                                                       Schedule A/B: Property                                                                   page 6
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 Debtor 1                  Veronica                       Lynn                               Dennis                                                               Case number (if known) 22-40420-MXM-13
                           First Name                      Middle Name                       Last Name



 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                         $85,375.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                         Current value of the
                                                                                                                                                                                         portion you own?
                                                                                                                                                                                         Do not deduct secured
                                                                                                                                                                                         claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................
 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............

 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................
 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................
 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............

 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                            $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                   page 7
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 Debtor 1                   Veronica                         Lynn                                Dennis                                                                  Case number (if known) 22-40420-MXM-13
                            First Name                       Middle Name                          Last Name



 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............

 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                  $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                           $0.00


 56.   Part 2: Total vehicles, line 5                                                                                        $15,000.00


 57.   Part 3: Total personal and household items, line 15                                                                     $2,725.00


 58.   Part 4: Total financial assets, line 36                                                                                 ($267.32)


 59.   Part 5: Total business-related property, line 45                                                                      $85,375.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                      $102,832.68              Copy personal property total➜         +          $102,832.68




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                    $102,832.68




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                    page 8
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 Debtor 1              Veronica       Lynn             Dennis                             Case number (if known) 22-40420-MXM-13
                       First Name     Middle Name       Last Name



                                                    SCHEDULE A/B: PROPERTY
                                                          Continuation Page

 6. Household goods and furnishings
     Refrigerator                                                                                                             $100.00
      Washing machine                                                                                                         $500.00
     Clothes Dryer                                                                                                            $500.00
     Living Room Furniture                                                                                                    $200.00
     Silverware                                                                                                                $25.00
     Bedroom Furniture                                                                                                        $150.00
     Microwave                                                                                                                 $25.00
     Household Tools                                                                                                           $75.00
     Plates                                                                                                                    $50.00
     Dining Room Furniture                                                                                                    $100.00

 7. Electronics
     Television                                                                                                               $200.00
     Computer                                                                                                                 $200.00
     Scanner/Printer                                                                                                          $150.00




Official Form 106A/B                                            Schedule A/B: Property
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 Fill in this information to identify your case:

  Debtor 1                    Veronica             Lynn                Dennis
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Northern District of Texas

  Case number                      22-40420-MXM-13                                                                                     ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 2015 Ford Mustang                                                         $15,000.00
                                                                                         ❑                   $0.00                11 U.S.C. § 522(d)(2)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


                                                                                         ✔
 Brief description:
  Refrigerator                                                                $100.00
                                                                                         ❑                  $100.00               11 U.S.C. § 522(d)(3)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:           6


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 3
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                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 Washing machine                                                       $500.00
                                                                                  ❑                 $500.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6


                                                                                  ✔
 Brief description:
 Clothes Dryer                                                         $500.00
                                                                                  ❑                 $500.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6


                                                                                  ✔
 Brief description:
 Living Room Furniture                                                 $200.00
                                                                                  ❑                 $200.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6


                                                                                  ✔
 Brief description:
 Silverware                                                              $25.00
                                                                                  ❑                 $25.00                  11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6


                                                                                  ✔
 Brief description:
 Bedroom Furniture                                                     $150.00
                                                                                  ❑                 $150.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6


                                                                                  ✔
 Brief description:
 Microwave                                                               $25.00
                                                                                  ❑                 $25.00                  11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6


                                                                                  ✔
 Brief description:
 Household Tools                                                         $75.00
                                                                                  ❑                 $75.00                  11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6


                                                                                  ✔
 Brief description:
 Plates                                                                  $50.00
                                                                                  ❑                 $50.00                  11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6


                                                                                  ✔
 Brief description:
 Dining Room Furniture                                                 $100.00
                                                                                  ❑                 $100.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         6




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                  page 2 of 3
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                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 Television                                                            $200.00
                                                                                  ❑                 $200.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         7


                                                                                  ✔
 Brief description:
 Computer                                                              $200.00
                                                                                  ❑                 $200.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         7


                                                                                  ✔
 Brief description:
 Scanner/Printer                                                       $150.00
                                                                                  ❑                 $150.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         7


                                                                                  ✔
 Brief description:
 Clothing Shoes                                                        $450.00
                                                                                  ❑                 $450.00                 11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        11


                                                                                  ✔
 Brief description:
 Dogs 3                                                                   $0.00
                                                                                  ❑                  $0.00                  11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        13


                                                                                  ✔
 Brief description:
 Point Bank Acct #9276                                                ($267.32)
                                                                                  ❑                  $0.00                  11 U.S.C. § 522(d)(5)

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                  page 3 of 3
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 Fill in this information to identify your case:

  Debtor 1                       Veronica                Lynn                  Dennis
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                                Northern District of Texas

  Case number                         22-40420-MXM-13                                                                                                   ❑    Check if this is an
  (if known)                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                Do not deduct the      that supports         portion
                                                                                                                            value of collateral.   this claim            If any
 2.1 Westlake Financial Services                             Describe the property that secures the claim:                          $24,417.00            $15,000.00               $9,417.00
        Creditor's Name
                                                                2015 Ford Mustang
         c/o Peritus Portfolio Services
         PO Box 141419
        Number          Street
                                                             As of the date you file, the claim is: Check all that apply.

         Irving, TX 75014                                    ❑Contingent
        City                      State       ZIP Code       ❑Unliquidated
        Who owes the debt? Check one.                        ❑Disputed
        ✔ Debtor 1 only
        ❑                                                    Nature of lien. Check all that apply.
        ❑Debtor 2 only                                       ✔An agreement you made (such as mortgage or
                                                             ❑
        ❑Debtor 1 and Debtor 2 only                              secured car loan)
        ❑At least one of the debtors and another             ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑Check if this claim relates to a                    ❑Judgment lien from a lawsuit
           community debt
                                                             ❑Other (including a right to offset)
        Date debt was incurred
        12/18/2019                                           Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                                            $24,417.00




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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 Debtor 1                Veronica           Lynn                      Dennis                                                Case number (if known) 22-40420-MXM-13
                         First Name         Middle Name               Last Name


                                                                                                                    Column A                Column B              Column C
                Additional Page
                                                                                                                    Amount of claim         Value of collateral   Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                                  Do not deduct the       that supports         portion
                2.3, followed by 2.4, and so forth.                                                                 value of collateral.    this claim            If any



 2.2                                                 Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                     As of the date you file, the claim is: Check all that apply.

       City                    State   ZIP Code      ❑Contingent
       Who owes the debt? Check one.                 ❑Unliquidated
       ❑Debtor 1 only                                ❑Disputed
       ❑Debtor 2 only                                Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                   ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another         secured car loan)

       ❑Check if this claim relates to a             ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                             ❑Judgment lien from a lawsuit
       Date debt was incurred                        ❑Other (including a right to offset)
                                                     Last 4 digits of account number




       Add the dollar value of your entries in Column A on this page. Write that number here:                                              $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                        $24,417.00
       here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                   Veronica              Lynn                Dennis
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                      22-40420-MXM-13                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority          Nonpriority
                                                                                                                                  claim       amount            amount

2.1      Lee Law Firm, PLLC                                                                                                         $3,388.00       $3,388.00              $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         8701 Bedford Euless Rd 510
        Number           Street
                                                                    As of the date you file, the claim is: Check all that
                                                                    apply.
         Hurst, TX 76053
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ✔ Debtor 1 only                                             ❑ Disputed
        ❑
        ❑ Debtor 2 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 1 and Debtor 2 only                                ❑ Domestic support obligations
        ❑ At least one of the debtors and another                   ❑ Taxes and certain other debts you owe the
        ❑ Check if this claim is for a community debt
                                                                        government
                                                                    ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                 intoxicated
        ✔ No
        ❑                                                           ✔ Other. Specify
                                                                    ❑
        ❑ Yes                                                          Attorney Fees

2.2      Office of the Attorney General                                                                                             $3,000.00       $3,000.00              $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         Bankruptcy & Collections Division
                                                                    As of the date you file, the claim is: Check all that
         P.O. Box 125478, MC-008                                    apply.
        Number           Street                                     ❑ Contingent
         Austin, TX 78711                                           ❑ Unliquidated
        City                               State   ZIP Code
                                                                    ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑
                                                                    Type of PRIORITY unsecured claim:
          Debtor 1 only
                                                                    ❑ Domestic support obligations
        ❑ Debtor 2 only                                             ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ Debtor 1 and Debtor 2 only                                    government
        ❑ At least one of the debtors and another                   ❑ Claims for death or personal injury while you were
        ❑ Check if this claim is for a community debt                   intoxicated
         Is the claim subject to offset?                            ❑ Other. Specify
         ❑✔ No
         ❑ Yes
Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 5
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 Debtor 1              Veronica               Lynn                      Dennis                                             Case number (if known) 22-40420-MXM-13
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     AT&T Corp                                                                                                                                                     unknown
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
        c/o AT&T Services, Inc.                                                   When was the debt incurred?
        Karen A. Cavagnaro-Lead Paralegal                                         As of the date you file, the claim is: Check all that apply.
        One AT&T Way Room 3A 104                                                  ❑ Contingent
        Number           Street                                                   ❑ Unliquidated
        Bedminster, NJ 07921                                                      ❑ Disputed
        City                              State      ZIP Code
                                                                                  Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one.                                         ❑ Student loans
        ✔ Debtor 1 only
        ❑                                                                         ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ❑ Check if this claim is for a community debt
                                                                                      Services
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
4.2     Baxter County Collector                                                                                                                                            $173.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        #8 E 7th
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Mountain Home, AR 72653                                                   ❑ Contingent
        City                              State      ZIP Code                     ❑ Unliquidated
        Who incurred the debt? Check one.                                         ✔ Disputed
                                                                                  ❑
        ✔ Debtor 1 only
        ❑                                                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another                                     divorce that you did not report as priority claims
        ❑ Check if this claim is for a community debt                             ❑ Debts to pension or profit-sharing plans, and other
                                                                                      similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Taxes
        ❑ Yes
4.3     City of Pisa                                                                                                                                                       $476.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        5230 Las Virgenes Rd 210
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Calabasas, CA 91302                                                       ❑ Contingent
        City                              State      ZIP Code                     ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another                                     divorce that you did not report as priority claims
        ❑ Check if this claim is for a community debt                             ❑ Debts to pension or profit-sharing plans, and other
                                                                                      similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Utilities
        ❑ Yes

Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 5
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 Debtor 1              Veronica               Lynn                    Dennis                                            Case number (if known) 22-40420-MXM-13
                       First Name             Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.4     CoServ Electric                                                        Last 4 digits of account number 2688                                               $166.73
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        7701 S Stemmons
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Denton, TX 76210                                                       ❑   Contingent
       City                              State       ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑
       ✔
                                                                                   Other. Specify
       ❑      No                                                                   Utilities
       ❑      Yes
4.5     CoServ Gas                                                             Last 4 digits of account number 2688                                               $101.68
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        7701 S Stemmons
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Denton, TX 76210                                                       ❑   Contingent
       City                              State       ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑
       ✔
                                                                                   Other. Specify
       ❑      No                                                                   Utilities
       ❑      Yes
4.6     IC System, Inc                                                                                                                                        $1,297.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        PO Box 64378
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Saint Paul, MN 55164                                                   ❑   Contingent
       City                              State       ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Collecting for - ATT Uverse
       ❑      Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 3 of 5
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 Debtor 1              Veronica               Lynn                    Dennis                                            Case number (if known) 22-40420-MXM-13
                       First Name             Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.7     NTTA                                                                                                                                                  unknown
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        PO Box 207899
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75320                                                       ❑   Contingent
       City                              State       ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Tolls
       ❑      Yes
4.8     Resurgent Capital Services                                             Last 4 digits of account number 5649                                           $1,110.98
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        LVNV Funding, LLC
                                                                               As of the date you file, the claim is: Check all that apply.
                                                                               ❑
        PO Box 10587
       Number           Street                                                     Contingent

        Greenville, SC 29603                                                   ❑   Unliquidated
       City                              State       ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Credit Card
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 4 of 5
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 Debtor 1              Veronica             Lynn                   Dennis                                      Case number (if known) 22-40420-MXM-13
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                           $3,000.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                       $3,388.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                            $6,388.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                      $3,325.39
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                            $3,325.39




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 5
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 Fill in this information to identify your case:

     Debtor 1                   Veronica             Lynn               Dennis
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Northern District of Texas

     Case number                     22-40420-MXM-13                                                                                         ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                              House Rental
        Dennis Aldridge                                                                          Contract to be ASSUMED
        Name
        1617 Villa Ct
        Number      Street
        Denton, TX 76210
        City                                 State   ZIP Code

2.2                                                                                              Storage Unit
        S&K Mini Warehouses & Storage                                                            Contract to be ASSUMED
        Name
        8126 E McKinney St
        Number     Street
        Denton, TX 76208
        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                     Veronica               Lynn              Dennis
                               First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)          First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                          Northern District of Texas

  Case number                       22-40420-MXM-13                                                                                          ❑      Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                    12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
        Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔No. Go to line 3.
        ❑
        ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑No
          ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                 State    ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
        codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
        Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                  Check all schedules that apply:
3.1                                                                                                               ❑Schedule D, line
      Name
                                                                                                                  ❑Schedule E/F, line
      Number          Street                                                                                      ❑Schedule G, line
      City                                  State   ZIP Code




Official Form 106H                                                          Schedule H: Your Codebtors                                                                    Page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                   Veronica               Lynn              Dennis
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Texas                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                      22-40420-MXM-13                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                             ✔ Not Employed
                                                                                                                               ❑Employed ❑
     attach a separate page with
     information about additional              Occupation                  Owner                                               Disabled
     employers.
                                               Employer's name             AJ's Antiques & Auctions
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address          1109 Britt
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.




                                                                           Denton, TX 76209
                                                                            City                     State   Zip Code          City                    State      Zip Code
                                               How long employed there? 2 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.                 $0.00                        $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +             $0.00       +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.                 $0.00                        $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1
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 Debtor 1                  Veronica                         Lynn                               Dennis                                          Case number (if known) 22-40420-MXM-13
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                 $0.00                    $0.00
 5.   List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00
      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00
      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00
      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00
      5e. Insurance                                                                                                    5e.                $0.00                    $0.00
      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00
      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify:                                                                                   5h.   +             $0.00       +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                 $0.00                    $0.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.                                8a.             $4,135.69                   $0.00
      8b. Interest and dividends                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                $1,754.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                   8f.                $0.00                    $0.00
      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $4,135.69                $1,754.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $4,135.69   +            $1,754.00        =       $5,889.69

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $5,889.69
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
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 Debtor 1               Veronica           Lynn                  Dennis                               Case number (if known) 22-40420-MXM-13
                        First Name         Middle Name            Last Name


   8a. Attached Statement

                                                                     Business Income

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
        1.   Gross Monthly Income:                                                                                                       $6,238.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
        2.   Ordinary and necessary expense                                                                                 $0.00
        3.   Net Employee Payroll (Other than debtor)                                                                       $0.00
        4.   Payroll Taxes                                                                                                  $0.00
        5.   Unemployment Taxes                                                                                             $0.00
        6.   Worker's Compensation                                                                                          $0.00
        7.   Other Taxes                                                                                                    $0.00
        8.   Inventory Purchases (Including raw materials)                                                                  $0.00
        9.   Purchase of Feed/Fertilizer/Seed/Spray                                                                         $0.00
        10. Rent (Other than debtor's principal residence)                                                            $1,550.00
        11. Utilities                                                                                                  $300.00
        12. Office Expenses and Supplies                                                                                    $0.00
        13. Repairs and Maintenance                                                                                         $0.00
        14. Vehicle Expenses                                                                                           $125.00
        15. Travel and Entertainment                                                                                        $0.00
        16. Equipment Rental and Leases                                                                                     $0.00
        17. Legal/Accounting/Other Professional Fees                                                                   $127.31
        18. Insurance                                                                                                       $0.00
        19. Employee Benefits (e.g., pension, medical, etc.)                                                                $0.00
        20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition Business
            Debts
             TOTAL PAYMENTS TO SECURED CREDITORS                                                                            $0.00

        21. Other Expenses
             TOTAL OTHER EXPENSES                                                                                           $0.00
                                                                                                                                         $2,102.31
        22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
        23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                                     $4,135.69




Official Form 106I                                                        Schedule I: Your Income                                              page 3
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 Fill in this information to identify your case:

  Debtor 1                   Veronica                 Lynn                   Dennis
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                              Northern District of Texas

  Case number                      22-40420-MXM-13                                                                     MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for   Dependent's relationship to
                                                                                         Debtor 1 or Debtor 2
                                                                                                                              Dependent's
                                                                                                                              age
                                                                                                                                                  Does dependent live
                                                                                                                                                  with you?
                                                      each dependent...............
     Do not state the dependents' names.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                      $1,595.00


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
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 Debtor 1              Veronica               Lynn                     Dennis                                Case number (if known) 22-40420-MXM-13
                       First Name             Middle Name               Last Name


                                                                                                                            Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                      $200.00

       6b. Water, sewer, garbage collection                                                                        6b.                        $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                      $300.00

       6d. Other. Specify:                              c                                                          6d.                      $100.00

 7.    Food and housekeeping supplies                                                                              7.                       $800.00

 8.    Childcare and children’s education costs                                                                    8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                       $100.00

 10. Personal care products and services                                                                           10.                      $100.00

 11.   Medical and dental expenses                                                                                 11.                      $250.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                      $400.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                      $100.00

 14. Charitable contributions and religious donations                                                              14.                        $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $0.00
       15a. Life insurance
                                                                                                                   15b.                       $0.00
       15b. Health insurance
       15c. Vehicle insurance                                                                                      15c.                     $150.00

       15d. Other insurance. Specify:                                                                              15d.                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                       $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                       $0.00
       17c. Other. Specify:
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00




Official Form 106J                                                              Schedule J: Your Expenses                                             page 2
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 Debtor 1              Veronica             Lynn                    Dennis                                  Case number (if known) 22-40420-MXM-13
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                              21.    +                  $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                  $4,095.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                      $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                  $4,095.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                  $5,889.69

      23b. Copy your monthly expenses from line 22c above.                                                        23b.   –              $4,095.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                  $1,794.69
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                             page 3
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 Fill in this information to identify your case:

  Debtor 1                         Veronica                       Lynn                       Dennis
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                            Northern District of Texas

  Case number                             22-40420-MXM-13                                                                                                                           ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                               $0.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                            $102,832.68


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $102,832.68



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                                  $24,417.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                 $6,388.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                   $3,325.39


                                                                                                                                                                  Your total liabilities                       $34,130.39

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $5,889.69


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $4,095.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
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 Debtor 1             Veronica               Lynn                     Dennis                                              Case number (if known) 22-40420-MXM-13
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                     $4,163.39




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                         $3,000.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $3,000.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                              page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                   Veronica              Lynn               Dennis
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                      22-40420-MXM-13                                                                                     ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                       (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Veronica Lynn Dennis
        Veronica Lynn Dennis, Debtor 1


        Date 03/22/2022
                MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
         Case 22-40420-mxm13 Doc 15UNITED
                                    Filed ST
                                          03/22/22   Entered 03/22/22 11:57:45
                                            ATES BANKRUPTCY COURT
                                                                                                                            Page 31 of 33
                                                             NORTHERN DISTRICT OF TEXAS
                                                                FORT WORTH DIVISION

IN RE:   Dennis, Veronica Lynn                                                            CASE NO     22-40420-MXM-13

                                                                                          CHAPTER      Chapter 13

                                              SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                             Scheme Selected: Federal
                                                             Gross                    Total                         Total Amount     Total Amount
 No.     Category                                    Property Value           Encumbrances      Total Equity              Exempt      Non-Exempt
 1.      Real Estate                                           $0.00                  $0.00            $0.00                $0.00           $0.00
 3.       Motor vehicle                                        $0.00                  $0.00            $0.00                $0.00           $0.00
 4.      Watercraft, trailers, motors                          $0.00                  $0.00            $0.00                $0.00           $0.00
         homes, and accessories
 6.      Household goods and                               $1,725.00                  $0.00         $1,725.00            $1,725.00          $0.00
         furnishings
 7.      Electronics                                        $550.00                   $0.00          $550.00              $550.00           $0.00
 8.      Collectibles of value                                 $0.00                  $0.00            $0.00                $0.00           $0.00
 9.      Equipment for sports and hobbies                      $0.00                  $0.00            $0.00                $0.00           $0.00
 10.     Firearms                                              $0.00                  $0.00            $0.00                $0.00           $0.00
 11.     Clothes                                            $450.00                   $0.00          $450.00              $450.00           $0.00
 12.     Jewelry                                               $0.00                  $0.00            $0.00                $0.00           $0.00
 13.     Nonfarm animals                                       $0.00                  $0.00            $0.00                $0.00           $0.00
 14.     Other                                                 $0.00                  $0.00            $0.00                $0.00           $0.00
 16.     Cash                                                  $0.00                  $0.00            $0.00                $0.00           $0.00
 17.     Deposits of money                                     $0.00                  $0.00            $0.00                $0.00           $0.00
 18.     Bonds, mutual funds, or publicly                      $0.00                  $0.00            $0.00                $0.00           $0.00
         traded stocks
 19.     Business Interests, LLC's,                            $0.00                  $0.00            $0.00                $0.00           $0.00
         Partnerships, Joint Ventures and
         Nonpublicly traded stock
 20.     Bonds and other financial                             $0.00                  $0.00            $0.00                $0.00           $0.00
         instruments
 21.     Retirement or pension accounts                        $0.00                  $0.00            $0.00                $0.00           $0.00
 22.     Security deposits and                                 $0.00                  $0.00            $0.00                $0.00           $0.00
         prepayments
 23.     Annuities                                             $0.00                  $0.00            $0.00                $0.00           $0.00
 24.     Interest in a qualified education                     $0.00                  $0.00            $0.00                $0.00           $0.00
         fund, such as an education IRA
 25.     Trusts, equitable or future                           $0.00                  $0.00            $0.00                $0.00           $0.00
         interests in property
 26.     Copyrights, trademarks, websites                      $0.00                  $0.00            $0.00                $0.00           $0.00
         and other intellectual property
 27.     Licenses, Franchises, and other                       $0.00                  $0.00            $0.00                $0.00           $0.00
         general intangibles
 28.     Tax refunds                                           $0.00                  $0.00            $0.00                $0.00           $0.00
 29.     Family support                                        $0.00                  $0.00            $0.00                $0.00           $0.00
 30.     Other amounts owed to the debtor                      $0.00                  $0.00            $0.00                $0.00           $0.00
 31.     Insurance policies                                    $0.00                  $0.00            $0.00                $0.00           $0.00
 32.     Interest in property from                             $0.00                  $0.00            $0.00                $0.00           $0.00
         deceased
 33.     Claims against third parties                          $0.00                  $0.00            $0.00                $0.00           $0.00
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                                              SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                        Continuation Sheet #1


Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                                   Scheme Selected: Federal
                                                             Gross                    Total                              Total Amount      Total Amount
 No.      Category                                   Property Value           Encumbrances            Total Equity             Exempt       Non-Exempt
 34.     All other claims, includes                            $0.00                     $0.00                $0.00               $0.00            $0.00
         contingent/unliquidated claims,
         counter claims, and creditor set
         offs
 35.     Other financial asset                                 $0.00                     $0.00                $0.00               $0.00            $0.00
 38.     Accounts receivable                                   $0.00                     $0.00                $0.00               $0.00            $0.00
 39.     Office equipment, furnishings,                      $375.00                     $0.00              $375.00               $0.00          $375.00
         and supplies
 40.     Machinery, fixtures and                               $0.00                     $0.00                $0.00               $0.00            $0.00
         equipment
 41.     Inventory                                        $85,000.00                     $0.00            $85,000.00              $0.00       $85,000.00
 42.     Interests in partnerships or joint                    $0.00                     $0.00                $0.00               $0.00            $0.00
         ventures
 43.     Customer lists                                        $0.00                     $0.00                $0.00               $0.00            $0.00
 44.     Other businessrelated property                        $0.00                     $0.00                $0.00               $0.00            $0.00


 47.     Farm animals                                          $0.00                     $0.00                $0.00               $0.00            $0.00
 48.     Crops                                                 $0.00                     $0.00                $0.00               $0.00            $0.00
 49.     Equipment                                             $0.00                     $0.00                $0.00               $0.00            $0.00
 50.     Supplies                                              $0.00                     $0.00                $0.00               $0.00            $0.00
 51.     Other farm or fishing related                         $0.00                     $0.00                $0.00               $0.00            $0.00
         property
 53.     Other Assets                                          $0.00                     $0.00                $0.00               $0.00            $0.00

                 TOTALS:                                  $88,100.00                     $0.00            $88,100.00           $2,725.00      $85,375.00
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                                               SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                         Continuation Sheet #2


Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes of this analysis. The
below listed items are to be returned to the lienholder
 Property Description                                                                                  Market Value                  Lien                     Equity
  Real Property
 (None)
  Personal Property
 (None)
                               TOTALS:                                                                        $0.00                  $0.00                      $0.00


Non-exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

 Property Description                                                   Market Value           Lien               Equity                      Non-Exempt Amount
  Real Property
 (None)
  Personal Property
 Desk Computer Printer Printer                                                   $375.00                         $375.00                                     $375.00
 Antiques, misc household and garage goods,                                $85,000.00                         $85,000.00                                  $85,000.00
 furnishings, clothing
                         TOTALS:                                           $88,100.00          $0.00          $88,100.00                                  $85,375.00



                                                                  Summary
                  A. Gross Property Value (not including surrendered property)                                        $88,100.00
                  B. Gross Property Value of Surrendered Property                                                          $0.00
                  C. Total Gross Property Value (A+B)                                                                 $88,100.00
                  D. Gross Amount of Encumbrances (not including surrendered property)                                     $0.00
                  E. Gross Amount of Encumbrances on Surrendered Property                                                  $0.00
                  F. Total Gross Encumbrances (D+E)                                                                        $0.00
                  G. Total Equity (not including surrendered property) / (A-D)                                        $88,100.00
                  H. Total Equity in surrendered items (B-E)                                                               $0.00
                  I. Total Equity (C-F)                                                                               $88,100.00
                  J. Total Exemptions Claimed (Wild Card Used: $0.00, Available: $13,900.00)                           $2,725.00
                  K. Total Non-Exempt Property Remaining (G-J)                                                        $85,375.00
